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             EXHIBIT F
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                                                                                   1
·1     · · · · · · · UNITED STATES DISTRICT COURT

·2     · · · · · · · FOR THE DISTRICT OF COLUMBIA

·3

·4   UNITED STATES OF AMERICA,· · ·)
· · ·et al.,· · · · · · · · · · · ·)
·5   · · · · · · · · · · · · · · · )
· · ·· · · · · U.S. Plaintiffs,· · )
·6   · · · · · · · · · · · · · · · )
· · ·· · ·vs.· · · · · · · · · · · )· CASE NO.
·7   · · · · · · · · · · · · · · · )· 1:20-cv-03010-APM
· · ·GOOGLE LLC,· · · · · · · · · ·)
·8   · · · · · · · · · · · · · · · )
· · ·· · · · · Defendant.· · · · · )
·9   ______________________________)
· · ·· · · · · · · · · · · · · · · )
10   STATE OF COLORADO, et al.,· · )
· · ·· · · · · · · · · · · · · · · )
11   · · · · · U.S. Plaintiffs,· · )
· · ·· · · · · · · · · · · · · · · )
12   · · ·vs.· · · · · · · · · · · )· CASE NO.
· · ·· · · · · · · · · · · · · · · )· 1:20-cv-0715-APM
13   GOOGLE LLC,· · · · · · · · · ·)
· · ·· · · · · · · · · · · · · · · )
14   · · · · · Defendant.· · · · · )
· · ·______________________________)
15

16     · ·** HIGHLY CONFIDENTIAL - UNDER PROTECTIVE ORDER **

17     · · · · VIDEOTAPED DEPOSITION OF ELIZABETH REID

18     · · · · · · · · ·Palo Alto, California

19     · · · · · · · · ·Friday, March 7, 2025

20
· · ·Stenographically Reported by:
21   HEATHER J. BAUTISTA, CSR, CRR, RPR, CLR
· · ·Realtime Systems Administrator
22   California CSR License #11600
· · ·Oregon CSR License #21-0005
23   Washington License #21009491
· · ·Nevada CCR License #980
24   Texas CSR License #10725

25     Job No.:· 2025-975121


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                                                                                  12
·1     · · Q.· ·When we last met, you led a group called

·2     Search Journeys.· Does that group still exist?

·3     · · A.· ·It does not.

·4     · · Q.· ·Okay.

·5     · · · · ·And when did Search Journeys cease to exist?

·6     · · A.· ·In March 2024.

·7     · · Q.· ·Okay.

·8     · · · · ·So when your role changed, Search Journeys went

·9     away?

10     · · A.· ·Um-hum.

11     · · Q.· ·Is there someone else that leads

12     Search Journeys today?

13     · · A.· ·No.

14     · · Q.· ·Your team, in a broad sense, is responsible for

15     building out Google's core Search experience; correct?

16     · · A.· ·That is correct.

17     · · Q.· ·And you've worked at Google since you graduated

18     college; correct?

19     · · A.· ·A month after, but yes.· Yes.

20     · · Q.· ·Google was your first job outside of college;

21     correct?

22     · · A.· ·It was my first job postcollege, yes.

23     · · Q.· ·Today I'd like to talk about, at least in the

24     beginning, some of the ways, since we last met in 2023,

25     that Search has stayed the same and some ways that


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                                                                                  13
·1     Search has changed, broadly speaking.

·2     · · · · ·So when we last met in 2023 in -- at the

·3     liability trial in Washington, D.C., Google had just

·4     launched a product called Bard.· I'd like to talk about

·5     Bard for a bit and what Bard has evolved into today.

·6     · · · · ·So first of all, what was Bard or what is Bard?

·7     · · · · ·MR. SMURZYNSKI:· Objection to the form.

·8     · · · · ·THE WITNESS:· Can you say a little bit more.

·9     · · Q.· ·(By Mr. Dahlquist)· Certainly.

10     · · · · ·When we last met, Google had just launched a

11     product called Bard.

12     · · · · ·Do you recall that, around 2023?

13     · · A.· ·Yes, I do.

14     · · Q.· ·At the time in 2023, what was Bard?

15     · · A.· ·It was a product in which you could -- some

16     level it was a chatbot that you could interact with, a

17     large language model.· It was not my -- my team's

18     responsibility, so I wouldn't give the official

19     definition or how they describe it.

20     · · Q.· ·Okay.

21     · · A.· ·But that was --

22     · · · · ·(Stenographer clarification.)

23     · · · · ·THE WITNESS:· -- at its heart was this chatbot

24     experience.

25     · · Q.· ·(By Mr. Dahlquist)· Does Bard still exist


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·1     today?

·2     · · A.· ·It is known by a different name externally, but

·3     the product still exists, yes.

·4     · · Q.· ·Did Bard become Gemini?

·5     · · A.· ·Became the Gemini app, yes.

·6     · · Q.· ·Okay.

·7     · · · · ·So the Bard product that was launched in 2023

·8     has evolved into what is today the Gemini app?

·9     · · A.· ·Yes.

10     · · Q.· ·You described Bard as a form of a chatbot; is

11     that correct?

12     · · A.· ·Yes.

13     · · Q.· ·How do you define the word "chatbot"?

14     · · A.· ·I don't know that I have a great definition,

15     but this ability to sort of -- you typically type

16     something in.· It replies in a way that feels -- in sort

17     of the chatty messages style, as if you were talking

18     with another human.· It tends to have that response.

19     And so it tends to be more of a -- it's a back-and-forth

20     product, and it is responding with the large language

21     model's output on it, but there's a -- I don't -- sort

22     of an intangible thing about what makes it feel like

23     it's a chatty thing, as opposed to just a computer

24     program responding.

25     · · Q.· ·All right.


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·1     · · · · ·So a chatbot, I've sometimes seen the word like

·2     "conversational interface."· It's something you can talk

·3     to?

·4     · · A.· ·I think a conversational interface is a piece

·5     of it, but I think when most people think about

·6     conversation, they also think about there's a style of

·7     something that feels conversational.· The -- the sort of

·8     tone and manner in which you respond has somewhat of a

·9     human-like feel to it, which is different than you can

10     ask a question and there's a response, but it doesn't

11     necessarily feel like you're talking to a human in the

12     same way.

13     · · Q.· ·Would you describe the Gemini app today as a

14     chatbot?

15     · · A.· ·Largely still is a chatbot, yes.

16     · · Q.· ·Okay.

17     · · · · ·So Bard has evolved from what it was

18     previously, to today becoming the Gemini app; correct?

19     · · A.· ·Yes.

20     · · Q.· ·Okay.

21     · · · · ·(Stenographer clarification.)

22     · · Q.· ·(By Mr. Dahlquist)· The technology -- well, let

23     me -- you're going to correct me on this question;

24     that's totally fine.· This is where your expertise is

25     far superior to mine.


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                                                                                  16
·1     · · · · ·The Bard -- the Bard chatbot, at the time, was

·2     backed up by LLMs that went under the Bard family name;

·3     is that correct?

·4     · · · · ·MR. SMURZYNSKI:· Objection to the form.

·5     · · · · ·THE WITNESS:· I don't know what you mean by

·6     "the Bard family name."

·7     · · Q.· ·(By Mr. Dahlquist)· Sure.

·8     · · · · ·What large language model supported the Bard

·9     product?

10     · · · · ·MR. SMURZYNSKI:· At what time?

11     · · · · ·MR. DAHLQUIST:· 2023.

12     · · · · ·THE WITNESS:· At the time, Google built a class

13     of foundational models on large language models and the

14     Bard system used that.· It's long enough ago and the

15     models have shifted enough that I wouldn't be able to

16     exactly clarify which version they were, without looking

17     it up.

18     · · Q.· ·(By Mr. Dahlquist)· To the best of your

19     recollection, did the PaLM LLM model support the Bard

20     product?

21     · · A.· ·To my recollection, it did at some point, but I

22     don't remember when it changed.

23     · · Q.· ·Today, with the Gemini app, what large language

24     model supports the Gemini app, to the best of your

25     knowledge?


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                                                                                  17
·1     · · A.· ·A class of models that go under the Gemini

·2     name.· Which versions, I don't know.· You would have to

·3     ask the Gemini team.

·4     · · Q.· ·Okay.

·5     · · · · ·And who -- in the structure of Google, who does

·6     the Gemini team report to?

·7     · · A.· ·You have to be more specific about "Gemini

·8     team."· The -- the Gemini app, or the foundational

·9     models, or -- what piece?

10     · · Q.· ·Let's start with the Gemini app?

11     · · A.· ·It reports to Sissie Hsiao.

12     · · Q.· ·And does Sissie report directly to Mr. Fox?

13     · · A.· ·She does not.

14     · · Q.· ·Who does Mr. -- who does Ms. Hsiao report to?

15     · · A.· ·She currently reports to Demis.

16     · · Q.· ·And the Gemini LLM models, where does that

17     reporting structure report up through?

18     · · A.· ·The Gemini LLM models report to Kari, who also

19     reports to Demis.

20     · · Q.· ·Okay.

21     · · · · ·The Gemini name is used by Google, both as a

22     family of LLM models, and as external branding; is that

23     correct?

24     · · A.· ·That is correct.

25     · · Q.· ·Okay.


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·1     good for users and then we roll out.

·2     · · · · ·So there's a -- there's a period of time from

·3     when the Gemini V3 model is first built to when Search

·4     is using a V3 derived model.

·5     · · Q.· ·(By Mr. Dahlquist)· Okay.

·6     · · · · ·Looking at the document, Reid Exhibit 10, are

·7     you familiar with this document?

·8     · · A.· ·Not off the top of my head.

·9     · · Q.· ·You're clearly familiar with the content to

10     which the document discusses; correct?

11     · · A.· ·At a high level, yes.

12     · · Q.· ·Okay.

13     · · · · ·Turning to Page 910, Number 6, "Output

14     quality."

15     · · · · ·Do you see that heading?

16     · · A.· ·Yes.

17     · · Q.· ·I just want to ask you a couple questions about

18     the bullet points under 6, 7, and 8 here on this page.

19     · · · · ·So on 6, "Output quality," looking at 6(b), it

20     says, "Currently, we are closing the quality gap using

21     improvements in Magit on V2-S."

22     · · · · ·Do you see that statement?

23     · · A.· ·Yes.

24     · · Q.· ·The next sentence says, "However, V2-S has

25     latency and cost profile that cannot scale to all of


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·1     Magi."

·2     · · · · ·Do you see that statement?

·3     · · A.· ·I do.

·4     · · Q.· ·Do you agree with that statement?

·5     · · A.· ·The V2-S latency and cost profile would not

·6     scale to all of Magi, yes.

·7     · · Q.· ·Looking down to 6(d), states, "Pretraining data

·8     can make key differences here."· It says, "See below,"

·9     which we'll get to.

10     · · · · ·But do you agree with that statement, that

11     pretraining data can make a key difference here?

12     · · A.· ·I think it was a -- it was a theory that it

13     would make a difference.· I think with -- to the point

14     about latency, we have a challenge if you compare our

15     helpfulness of an AI Overview to somebody else's

16     response, in that we are going to be held, on Search, to

17     a much lower latency bar, which implies a much smaller

18     model.· And it is harder to have a smaller model have as

19     good an answer as a larger model.

20     · · Q.· ·Okay.

21     · · A.· ·So if we are going to try and have our smaller

22     model as good as somebody else's medium-sized model,

23     then we have to be really smart.· And we got to figure

24     out how to make it great.

25     · · · · ·And so the -- this was a -- let me just go to


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·1     the -- okay.

·2     · · · · ·This was a draft in August between a set of

·3     folks on Search for both the Search team and the

·4     GDM team that built the underlying V3 model to think

·5     about how, across the two teams, we could make the next

·6     version of Search built on Gemini V3 stronger, and here

·7     are a variety of different sort of requirements and

·8     mechanisms to --

·9     · · · · ·(Stenographer clarification.)

10     · · · · ·THE WITNESS:· -- investigate.

11     · · Q.· ·(By Mr. Dahlquist)· So moving down to Number 8,

12     "Pretraining data," under 8(a), it states,

13     "Significantly better pretraining data can help us

14     achieve quality objectives."

15     · · · · ·Do you agree with that statement?

16     · · A.· ·I don't think we knew for sure.· I think that

17     was the hope, that it may be a means to help us achieve

18     it.

19     · · Q.· ·Do you think that from August 2024 to today,

20     you're able to say is -- was that goal met, or were you

21     able to confirm that belief, that pretraining data

22     helped you achieve quality objectives?

23     · · A.· ·I don't know which of these ideas around

24     pretraining data were implemented, and I also don't know

25     that we know -- I certainly don't know how much


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·1     pretraining versus other techniques improve the quality

·2     of V3.

·3     · · · · ·V3 was materially better.· I do not actually

·4     know if we built a V3 XS dedicated to Search or not as

·5     well.

·6     · · Q.· ·That was my next question, which the next

·7     sentence says, "We can get high-quality search data if

·8     we build V3 XS dedicated to Search."

·9     · · · · ·What does that sentence mean?

10     · · A.· ·So we cannot use most Search data in the

11     foundational model because the foundational model is

12     used by non-Search systems.· So by policy, we do not use

13     that.

14     · · · · ·If nobody else is going to use the Gemini

15     foundational model of XS besides us anyway, then perhaps

16     from the ground up, we could build it as a Search-only

17     model instead of building a foundational model for

18     everyone and then customizing for Search.

19     · · · · ·So most -- I don't know if anyone else uses the

20     XS models, period, or if we are the only one using it.

21     And I don't know whether or not we decided to build a

22     V3 XS foundational model just for Search and then

23     customize on top or we built a generic V3 XS and --

24     · · · · ·(Stenographer clarification.)

25     · · · · ·THE WITNESS:· I don't know if we built a


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·1     foundational model exclusively for Search that we then

·2     customized on top or we built a generic foundational

·3     model that we then customized on top.

·4     · · Q.· ·(By Mr. Dahlquist)· Who at Google would know

·5     which model was built?

·6     · · A.· ·Several of the people on this.· Koray would

·7     know, Cheenu would probably know, Steve Baker would

·8     certainly know.

·9     · · Q.· ·Okay.

10     · · · · ·That sentence uses the term "high-quality

11     search data."

12     · · · · ·How do you define that term or what does that

13     term mean?

14     · · · · ·MR. SMURZYNSKI:· Objection to the form.

15     · · · · ·THE WITNESS:· They list some examples below

16     that they were thinking of.· Based on the example below,

17     this is -- one, it could be web documents that cannot be

18     used in the foundational model but could be used in the

19     Search model.· It can also be Search quality signals,

20     for instance --

21     · · · · ·(Stenographer clarification.)

22     · · · · ·THE WITNESS:· Navboost queries.

23     · · Q.· ·(By Mr. Dahlquist)· Okay.

24     · · · · ·Looking in the same section, 8(a)(i), under the

25     examples that it gives, what is GCC?


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·1     · · A.· ·I think it is Google Common Corpus, but I don't

·2     know for sure.

·3     · · Q.· ·And it says "GCC data (because of GE)."

·4     · · · · ·What is GE?

·5     · · A.· ·Google-Extended opt-out.

·6     · · Q.· ·Okay.· Okay.· All right.

·7     · · · · ·I think we're done with that document.· Thank

·8     you.

·9     · · · · ·(Exhibit 11 was marked for identification.)

10     · · Q.· ·(By Mr. Dahlquist)· All right.

11     · · · · ·We are changing gears.· We've handed you a

12     document marked as Reid Exhibit 11, which is a couple

13     pages of an e-mail dated April 22, 2023.· It is Bates

14     stamp GOOG-DOJ-33771217 through 1219.· Take a minute to

15     review and let me know when you're ready.

16     · · A.· ·Okay.

17     · · Q.· ·The heading of Exhibit 11 is "Snap GenAI

18     project update April 2023"; is that right?

19     · · A.· ·Yes.

20     · · Q.· ·Is "Snap" here referring to Snapchat?

21     · · A.· ·It's referring to the company that owns

22     Snapchat.

23     · · Q.· ·Snap is a reference to the company that owns

24     Snapchat app.

25     · · A.· ·That is my belief.


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·1     · · Q.· ·Okay.

·2     · · · · ·What is, at a high level -- and we'll dive into

·3     some of the statements.· What is the GenAI project that

·4     is at least being considered or tested between Google

·5     and Snapchat in Reid Exhibit 11?

·6     · · A.· ·This was a -- this was a project between Cloud

·7     and Snap that we consulted or probably provided some

·8     support for but were not largely driving.

·9     · · Q.· ·And you forwarded this e-mail in April 2023 to

10     your then-direct report, Mr. Raghavan; correct?

11     · · A.· ·Yes.

12     · · Q.· ·And do you recall why were you forwarding this

13     to Mr. Raghavan?

14     · · A.· ·I don't know.· It could have been any number of

15     reasons.

16     · · Q.· ·Sure.

17     · · · · ·Going to the e-mail that you forwarded from

18     Alistair C-o-n-n-a-l?

19     · · A.· ·Yes.

20     · · Q.· ·It states, "Our engagement with Snap continues

21     to move forward."

22     · · · · ·Do you see that sentence?

23     · · A.· ·Yes.

24     · · Q.· ·Do you have an understanding what the

25     engagement with Snap was?


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